













	




IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-27,362-02






WILLIAM EVANS MAYHALL, Relator


v.


SCURRY COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 8978-A IN THE JUDICIAL DISTRICT COURT

FROM SCURRY COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the Judicial
District Court of Scurry County, that more than 35 days have elapsed, and that the application has not yet
been forwarded to this Court.  

	In these circumstances, additional facts are needed.  The respondent, the District Clerk of  Scurry
County, is ordered to file a response, which may be made by: submitting the record on such habeas corpus
application; submitting a copy of a timely filed order which designates issues to be investigated, see McCree
v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the nature of the claims asserted
in the application filed by Relator is such that the claims are not cognizable under Tex. Code Crim. Proc.
art. 11.07, § 3; or stating that Relator has not filed an application for habeas corpus in Scurry County.  This
application for leave to file a writ of mandamus shall be held in abeyance until the respondent has submitted
the appropriate response.  Such response shall be submitted within 30 days of the date of this order.



Filed: October 24, 2007

Do not publish	


